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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK


 ARIEL ABITTAN,

                 Plaintiff,                                  Case No. 1:20-cv-8226-KPF

        v.

 EXPERIAN INFORMATION SOLUTIONS, INC.,
 and AMERICAN EXPRESS NATIONAL BANK,

                 Defendants.


                              STIPULATED PROTECTIVE ORDER

       IT IS HEREBY STIPULATED by and between Plaintiff Ariel Abittan (“Plaintiff”) and

Defendant Experian Information Solutions, Inc. (“Experian”) through their respective attorneys

of record, as follows:

       WHEREAS, documents and information have been and may be sought, produced or

exhibited by and among the parties to this action relating to trade secrets, confidential research,

development, technology or other proprietary information belonging to the defendant, and/or

personal income, credit and other confidential information of Plaintiff.

       THEREFORE, an Order of this Court protecting such confidential information shall be

and hereby is made by this Court on the following terms:

       1.       This Order shall govern the use, handling and disclosure of all documents,

testimony or information produced or given in this action which are designated to be subject to

this Order in accordance with the terms hereof.

       2.       Any party or non-party producing or filing documents or other materials in this

action (the “Producing Party”) may designate such materials and the information contained
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therein subject to this Order by typing or stamping on the front of the document, or on the

portion(s) of the document for which confidential treatment is designated, “Confidential.”

       3.       If a Producing Party believes in good faith that, despite the provisions of this

Protective Order, there is a substantial risk of identifiable harm to the Producing Party if

particular documents it designates as “Confidential” are disclosed to all other parties or non-

parties to this action, the Producing Party may designate those particular documents as

“Confidential—Attorneys’ Eyes Only.”

       4.       To the extent any motions, briefs, pleadings, deposition transcripts, or other

papers to be filed with the Court incorporate documents or information subject to this Order, the

party filing such papers shall designate such materials, or portions thereof, as “Confidential,” or

“Confidential—Attorneys’ Eyes Only” and shall file them with the clerk under seal; provided,

however, that a copy of such filing having the confidential information deleted therefrom may be

made part of the public record. Any party filing any document under seal must comply with the

requirements of Rule 9(B) of this Court’s Individual Rules of Practice in Civil Cases.

       5.       All documents, transcripts, or other materials subject to this Order, and all

information derived therefrom (including, but not limited to, all testimony given in a deposition,

declaration or otherwise, that refers, reflects or otherwise discusses any information designated

“Confidential” or “Confidential—Attorneys’ Eyes Only” hereunder), shall not be used, directly

or indirectly, by any person for any business, commercial or competitive purposes or for any

purpose whatsoever other than solely for the preparation for and trial of this action in accordance

with the provisions of this Order.

       6.       Except with the prior written consent of the individual or entity designating a

document or portions of a document as “Confidential,” or pursuant to prior Order after notice,




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any document, transcript or pleading given “Confidential” treatment under this Order, and any

information contained in or derived from any such materials (including but not limited to, all

deposition testimony that refers to, reflects or otherwise discusses any information designated

“Confidential” hereunder) may not be disclosed other than in accordance with this Order and

may not be disclosed to any person other than: (a) the Court and its officers; (b) parties to this

litigation; (c) counsel for the parties, whether retained outside counsel or in-house counsel and

employees of counsel assigned to assist such counsel in the preparation of this litigation; (d) fact

witnesses subject to a proffer to the Court or a stipulation of the parties that such witnesses need

to know such information; (e) present or former employees of the Producing Party in connection

with their depositions in this action (provided that no former employees shall be shown

documents prepared after the date of his or her departure); and (f) experts specifically retained as

consultants or expert witnesses in connection with this litigation.

       7.       Except with the prior written consent of the individual or entity designating a

document or portions of a document as “Confidential—Attorneys’ Eyes Only,” or pursuant to

prior Order after notice, any document, transcript or pleading given “Confidential—Attorneys’

Eyes Only” treatment under this Order, and any information contained in or derived from any

such materials (including but not limited to, all deposition testimony that refers to, reflects or

otherwise discusses any information designated “Confidential—Attorneys’ Eyes Only”

hereunder) may not be disclosed other than in accordance with this Order and may not be

disclosed to any person other than: (a) a party’s retained outside counsel of record in this action,

as well as employees of said outside counsel to whom it is reasonably necessary to disclose the

information for this litigation and who have signed the “Declaration of Compliance” that is

attached hereto as Exhibit A; (b) experts specifically retained as consultants or expert witnesses




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in connection with this litigation who have signed the “Declaration of Compliance” (Exhibit A);

(c) the Court and its personnel; (d) court reporters, their staffs, and professional vendors to whom

disclosure is reasonably necessary for this litigation and who have signed the “Declaration of

Compliance” (Exhibit A); and (e) the author of the document or the original source of the

information.

        8.       Documents produced pursuant to this Order shall not be made available to any

person designated in Subparagraph 6(f) or 7(b) unless he or she shall have first read this Order,

agreed to be bound by its terms, and signed the attached “Declaration of Compliance”

(Exhibit A).

        9.       All persons receiving any or all documents produced pursuant to this Order shall

be advised of their confidential nature. All persons to whom confidential information and/or

documents are disclosed are hereby enjoined from disclosing same to any person except as

provided herein, and are further enjoined from using same except in the preparation for and trial

of the above-captioned action between the named parties thereto. No person receiving or

reviewing such confidential documents, information or transcript shall disseminate or disclose

them to any person other than those described above in Paragraph 6 and Paragraph 7 and for the

purposes specified, and in no event shall such person make any other use of such document or

transcript.

        10.      Nothing in this Order shall prevent a party from using at trial any information or

materials designated “Confidential” or “Confidential—Attorneys’ Eyes Only”.

        11.      This Order has been agreed to by the parties to facilitate discovery and the

production of relevant evidence in this action. Neither the entry of this Order, nor the

designation of any information, document, or the like as “Confidential,” or “Confidential—




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Attorneys’ Eyes Only,” nor the failure to make such designation, shall constitute evidence with

respect to any issue in this action.

         12.    Within sixty (60) days after the final termination of this litigation, all documents,

transcripts, or other materials afforded confidential treatment pursuant to this Order, including

any extracts, summaries or compilations taken therefrom, but excluding any materials which in

the good faith judgment of counsel are work product materials, shall be returned to the Producing

Party.

         13.    In the event that any party to this litigation disagrees at any point in these

proceedings with any designation made under this Protective Order, the parties shall first try to

resolve such dispute in good faith on an informal basis. If the dispute cannot be resolved, the

party objecting to the designation may seek appropriate relief from this Court. During the

pendency of any challenge to the designation of a document or information, the designated

document or information shall continue to be treated as “Confidential” or “Confidential—

Attorneys’ Eyes Only” subject to the provisions of this Protective Order.

         14.    Nothing herein shall affect or restrict the rights of any party with respect to its

own documents or to the information obtained or developed independently of documents,

transcripts and materials afforded confidential treatment pursuant to this Order.

         15.    The Court retains the right to allow disclosure of any subject covered by this

stipulation or to modify this stipulation at any time in the interest of justice.




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  Dated:      January 11, 2021           Respectfully submitted,

                                         /s/ Aaron Seong
                                         Aaron Seong
                                         JONES DAY
                                         250 Vesey Street
                                         New York, NY 10281
                                         Telephone: (212) 326-3758
                                         Email:       aseong@jonesday.com

                                         Attorney for Defendant
                                         Experian Information Solutions, Inc.

  Dated:      January 11, 2021           Respectfully submitted,

                                         /s/ Mark Rozenberg
                                         Mark Rozenberg
                                         Stein Saks, PLLC
                                         285 Passaic Street
                                         Hackensack, NJ 07601
                                         Telephone: (201) 282-6500
                                         Email:       mrozenberg@steinsakslegal.com

                                         Attorney for Plaintiff
                                         Ariel Abittan

  IT IS SO ORDERED.
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  Dated:      January __, 2021
                                         KATHERINE POLK FAILLA
                                         United States District Judge


This confidentiality agreement does not bind the Court or any of its
personnel. The Court can modify this stipulation at any time. The
Court will retain jurisdiction over the terms and conditions of this
agreement only for the pendency of this litigation. Any party
wishing to make redacted or sealed submissions shall comply with Rule
6(A) of this Court's Individual Rules of Civil Procedure.




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                                              EXHIBIT A

                               DECLARATION OF COMPLIANCE

         I, _____________________________________, declare as follows:

         1.       My address is ________________________________________________.

         2.       My present employer is ________________________________________.

         3.       My present occupation or job description is _________________________.

         4.       I have received a copy of the Stipulated Protective Order entered in this action on

_______________, 20___.

         5.       I have carefully read and understand the provisions of this Stipulated Protective

Order.

         6.       I will comply with all provisions of this Stipulated Protective Order.

         7.       I will hold in confidence, and will not disclose to anyone not qualified under the

Stipulated Protective Order, any information, documents or other materials produced subject to

this Stipulated Protective Order.

         8.       I will use such information, documents or other materials produced subject to this

Stipulated Protective Order only for purposes of this present action.

         9.       Upon termination of this action, or upon request, I will return and deliver all

information, documents or other materials produced subject to this Stipulated Protective Order,

and all documents or things which I have prepared relating to the information, documents or

other materials that are subject to the Stipulated Protective Order, to my counsel in this action, or

to counsel for the party by whom I am employed or retained or from whom I received the

documents.

         10.      I hereby submit to the jurisdiction of this Court for the purposes of enforcing the

Stipulated Protective Order in this action.


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       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

       Executed this ____ day of _____________, 20__, at __________________.




                                                 _______________________________________
                                                 QUALIFIED PERSON




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